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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                             8:03CR384
                                    )
            v.                      )
                                    )
COURTNEY NELSON,                    )                               ORDER
                                    )
                  Defendant.        )
____________________________________)


               On February 18, 2011, the defendant appeared with counsel for a hearing on an

Amended Petition for Warrant for Offender Under Supervision. (Filing No. 84). Defendant was

present and represented by Michael Hansen. Plaintiff was represented by Susan T. Lehr,

Assistant United States Attorney. The defendant admitted allegation numbers 2 through 5

contained within the Petition are true and the Court found the defendant to be in violation of

conditions of his supervised release. The plaintiff dismissed allegation number 1. The Court

withheld ruling on whether his supervised release should be revoked.

               The defendant moved to continue the disposition hearing so the defendant could

get into drug treatment. The Court granted the motion.

               IT IS ORDERED that the defendant remains on supervised release until the

disposition hearing set for March 22, 2011, at 8:30 a.m.

               DATED this 22nd day of February, 2011.

                                             BY THE COURT:

                                             /s/ Lyle E. Strom

                                             LYLE E. STROM, Senior Judge
                                             United States District Court
